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 Proposed Attorneys for Debtors and Debtors in Possession

                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

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                                                              :
 In re                                                        :        Chapter 11
                                                              :
 CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–32181 (KLP)
                                                              :
                                     Debtors. 1               :        (Jointly Administered)
                                                              :
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     NOTICE OF ADJOURNMENT OF HEARING ON MOTION OF DEBTORS FOR
        ENTRY OF ORDER (I) EXTENDING TIME FOR PERFORMANCE OF
      OBLIGATIONS ARISING UNDER UNEXPIRED NON-RESIDENTIAL REAL
          PROPERTY LEASES, AND (II) GRANTING RELATED RELIEF

         PLEASE TAKE NOTICE OF THE FOLLOWING:

                  1.       On May 4, 2020, Chinos Holdings, Inc. and its debtor affiliates, as debtors

 and debtors in possession in the above-captioned chapter 11 cases, filed the Motion of Debtors

 for Entry of Order (I) Extending Time for Performance of Obligations Arising Under Unexpired


 1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
     Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
     Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
     International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
     (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
     Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
     headquarters and service address is 225 Liberty St., New York, NY 10281.
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 Non-Residential Real Property Leases, and (II) Granting Related Relief [Docket No. 23] (the

 “365(d)(3) Motion”).

               2.       The Debtors scheduled a telephonic hearing on the 365(d)(3) Motion for

 May 21, 2020, at 11:00 a.m. (prevailing Eastern Time), and the deadline to file a response to the

 365(d)(3) Motion was May 14, 2020 . See Notice of Motion and Notice of Hearing [Docket No.

 137].

               3.       Pursuant to paragraph 18(g) of the Notice, Case Management and

 Administrative Procedures attached as Schedule 1 to the Order Establishing Certain Notice,

 Case Management and Administrative Procedures, the Debtors are adjourning the telephonic

 hearing on 365(d)(3) Motion until May 26, 2020, at 10:00 A.M. (prevailing Eastern Time) (the

 “Hearing”). Parties must participate in the Hearing telephonically through CourtSolutions.

 Parties may participate through CourtSolutions without the need for filing a separate motion

 requesting authorization to appear telephonically. Information regarding telephonic appearances

 through CourtSolutions is available on the Court’s website at http://www.vaeb.uscourts.gov.

               4.       In addition, except as expressly agreed among the Debtors and any

 applicable party in interest, the deadline to respond to the 365(d)(3) Motion remains May 14,

 2020.




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 Dated: May 19, 2020
        Richmond, Virginia
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                                     -and-

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